 

Case 2:07-cv-03656-JFW-PLA Document 29 Filed 08/13/07 Page 1of1 Page ID #:24
Priority
Send —_——.
Enter —_—-

UNITED STATES DISTRICT COURT Closed ——

 

JS- 5/JS-6:.1 4
CENTRAL DISTRICT OF CALIFORNIA S-2/)S- 3
Sean Only:
CIVIL MINUTES-GENERAL
Case No. CV_07-3656-JFW (PLAx) Date_August B 2007

 

Title: William Putnam vy. Eli Lilly and Company

 

O U.S. DISTRICT JUDGE
@ MAGISTRATE JUDGE

PRESENT: THE HONORABLE __ PAUL L, ABRAMS

 

 

Christianna Howard N/A N/A
Deputy Clerk Court Reporter / Recorder Tape No.
ATTORNEYS PRESENT FOR PLAINTIFFS: ATTORNEYS PRESENT FOR DEFENDANTS:
NONE NONE

PROCEEDINGS: (IN CHAMBERS)

The Court is in receipt of plaintiffs “Motion to Compel Production, . . . and for Relief from Local Rule 23-3
filed on August 7, 2007 (the “Motion”), The portion of the Motion that seeks an extension of the Local Rule 23-
3 requirement to file a class certification motion within 90 days of service of the complaint is hereby denied
without prejudice. This Court does not have the authority to modify this deadline; such a request must be made
directly to the District Judge in this matter. Plaintiff is ordered to advise this Court of Judge Walter's
determination on the issue of an extension of the Local Rule 23-3 requirement within 24 hours of the issuance
of a decision.

The Court has determined, in light of the nature of the remaining discovery issues in the Motion and the date of
personal service of the Motion, that the hearing date on the Motion be advanced to August 28, 2007, and that oral
argument will not be of material assistance in determining the Motion. Accordingly, the hearing is ordered off
calendar (see Local Rule 7-15), and the Court orders defendant to file its opposition to the Motion, if any, no

later than Friday, August 17, 2007. Failure to file an opposition by that date will result in the Court granting
the Motion.

i HEREBY CERTIFY THAT THIS DOCUMENT WAS SERVED

BY FAX DELIVERY ON PLAINTIFF/DEFENDANT (OR PARTIES)

AT THEIR RESPECTIVE MOST RECENT FAX NUMBER OF RECORD
ce:  Counselof Record IN THIS ACTION ON THIS DATE. | ” ROARS TTER Ay

! ae ieh SY CM |

DATE: Bly bz. pe
(' l NG | 6 2r

DEPUTY CLERK ___Initials of Depu nc
| fi

AY TNA _007

CV-90 (10/98) CIVIL MINUTES - GENERAL

 

 

 

 

 

 
